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                                                                                   JAN 72020
 2                   IN THE UNITED STATES DISTRICT COURT                  r
                                                                              JAMES N. H TTEN Cl
                    FOR THE NORTHERN DISTRICT OF GEORGIA                  By:      ~                   er
                               ATLANTA DIVISION                                                Deputy Clerk
 4

 s   TAWANAL. CARTER,                        CASE NO.: l:19-CV-04863-MHC
 6                 Plaintiff,                PLAINTIFF’S RESPONSE IN
 7                                           OPPOSITION TO
     vs.                                -    DEFENDANTS’ MOTION TO
 8                                           DISMISS
 ~   SELECT PORTFOLIO
10   SERVICING, INC., ET AL.,
                    Defendants.

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13
           COMES NOW, Plaintiff Tawana L. Carter (hereinafter referred to as
‘4

‘5   “Plaintiff’), who via Pro Se submission files this, her Response in Opposition to
16   Defendants Select Portfolio Servicing, Inc., and Wells Fargo Bank, N.A., a~
17   Trustee for Freemont Home Loan Trust 2005 RR3, Mortgage Backed Certiflcat~
18
     Series 2005 RR3 (“Defendants”)’ Motion to Dismiss, and in support thereof state~

20   as follows:
21

22                              ~TRODUCTION I BACKGROUND
23
           On February 22, 2005, Plaintiff obtained a loan in the amount ol
24

25   $279,000.00 from Fremont Investment & Loan Corporation (“Fremont”) and used
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     the fhnds to finance her purchase of the subject property. [Doc. 4, ¶4]. That samc
 2
     day, Plaintiff executed a security deed that conveyed legal title to the subjeci
 3
     property to Fremont as security for the debt (the “Security Deed”). [Doc. 4, ¶4],

 ~   The Security Deed was allegedly last assigned to Wells Fargo Bank, National
 6   Association, as Trustee, on behalf of the certificateholders of Securitized Assel
 7
     Backed Receivables LLC 2005-FR3, Mortgage Pass-Through Certificates, Series
 8
     2005- FR3 (“Wells Fargo”), via the Corporate Assignment of Mortgage! Security

10   Deed, executed on January 9, 2018 and recorded at Deed Book 58405, Page 672
~    (the “Assignment”).      Said transfers are questionable and suspect as best~
12
     Additionally, the repeated denials for a permanent loan modification have not beer
13

14   done in accordance with federal law, which has caused Plaintiff emotional anE
15   fmancial damages, as laid out in the Complaint. See Complaint, Doc. 1, ¶~J1-6, 14-
16   15.
11
           Plaintiff initiated the instant action against the Defendants via the filing oi
18

19   her Complaint for Damages.      In the Complaint, Plaintiff asserts the fol1owin~
20   causes of action: Declaratory Relief, Injunctive Relief, Set Aside Sale, Specific
21   Performance, Promissory Estoppel, Violations of the Consumer Credit Protectior
22
     Act (“CCPA”), Violations of Federal Regulations, and Violations of Fair Debi
23

24   Collections Practices Act (“FDCPA”). Plaintiff’s claims arose as a direct result oi
25   Defendants’ wrongifil conduct surrounding an underlying Mortgage and Notc
     2
           Case 1:19-cv-04863-MHC Document 17 Filed 01/21/20 Page 3 of 10




     securing the real property located at 115 Parkside Close, Aipharetta, GA 30022
 2
     (hereinafter referred to as the “subject property”).
 3
           Per the allegations in Plaintiffs complaint, Defendants have engaged in ~

 ~   calculated and orchestrated scheme to improperly and illegally transfer any allegeE
 6   interest in the subject property, defraud Plaintiff for theft own material anc
 7
     fmancial benefit, and wrongfully attempt to foreclose and retain possession of thc
 8

 ~   subject property. As a direct result of Defendants’ wrongful conduct, Plaintiff ha~
10   been emotionally and financially damaged.         Additionally, as the allegations ir
‘~   Plaintiffs complaint sufficiently support all cognizable claims put forth.
12
     Defendants’ Motion to Dismiss Plaintiffs Complaint should be denied in it~
13

14   entirety, or in the alternative, Plaintiff should be granted leave of court to amenc
15   her complaint.
16         Plaintiff originally filed this case in the Superior Court of Georgia, in and foi
17
     Fulton County, on October 1, 2019 under Case No. 2019CV327392. Defendant~
18

19   had this case removed to federal court on October 29, 2019. Shortly thereafter,
20   Defendants filed theft Motion to Dismiss Plaintiffs Complaint under Federal Ruk
21   of Civil Procedure 12(b)(6). (See Docs. 1 and 10).
22

23

24              DISMISSAL WITH PREJUDICE IS NOT WARRANTED.
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          Defendants seek to dismiss Plaintiff’s claims with prejudice. Plaintifi
 2   submits that dismissal with prejudice is not warranted under th€


 4   circumstances.    “.. .   since dismissal with prejudice is a drastic sanction, it is
 ~   to be applied only in extreme situations.” Brown v. Thompson, 430 F.2c
 6   1214 (5th Cir. 1970); Durham v. Florida East Coast Ry. Co., 385 F.2d 36€
 7
     (5th Cir. 1967). This is not one of these extreme situations which warrants
 8
     an order of dismissal with prejudice.

10         Here, even if the Court is inclined to agree with Defendants’ baseless
~    arguments in support of dismissal, Plaintiff should be awarded th€
12
     opportunity to amend her complaint, as opposed to imposing the ‘ultimat€
13

14   sanction’ of dismissal with prejudice, thus barring Plaintiff from bringinç
15   forth his cognizable claims against Defendants.
16         The Federal Rules of Civil Procedure require a complaint to contair
17
     “a short and plain statement of the claim showing that the pleader is
18

     entitled to relief.” Fed. R.Civ.P. 8(a)(2). While the plaintiffs allegations neec

20   not satisfy any “technical form,” they “must be simple, concise, and direct.’
21   Fed.R.Civ.P. 8(e)(1). Rule 8’s pleading standard “does not require ‘detailec
22
     factual allegations,’ but it demands more than an unadorned, the
23

24   defendant-unlawfully-harmed-me accusation.” Ashoroft v. lqbal, 556 U.S
25   662, 678, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (citing Bell At!.
     4
          Case 1:19-cv-04863-MHC Document 17 Filed 01/21/20 Page 5 of 10



 1   Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964, 167 L.Ed.2d
 2   929 (2007)).

           To withstand a motion to dismiss under Rule 12(b)(6), a complaini

 ~   must include “enough facts to state a claim to relief that is plausible on its
 6   face.” Bell AU. Corp., 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 92S
 7
     (2007). A “claim has facial plausibility when the plaintiff pleads factual
 8
     content that allows the court to draw the reasonable inference that the

to   defendant is liable for the misconduct alleged.” Ashcroft, 556 U.S. 662,
‘~   678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). Plaintiffs complaint contains
12
     short plain statements which put Defendants on due notice of the
13

14   allegations against them and the claims Plaintiff brings forth. In essence,
15   Plaintiff alleges that the transfer(s) and any alleged interest in the subjeci
16   property by Defendants was procured wrongfully and not in compliance
‘7
     with state and federal law.     Additionally, the repeated denials of loan
18

19   modifications are suspect as Plaintiff has not been given any reasonable
20   explanation as to the string of denials. Contrary to Defendants’ assertions,
21   Plaintiff has met the pleading standard as required under the Federal Rules
22
     of Civil Procedure, thus a dismissal with prejudice is not warranted.
23

24         It is well established in this District that a complaint should be
25   dismissed under Rule 12(b)(6) only where it appears that the facts alleged
     5
          Case 1:19-cv-04863-MHC Document 17 Filed 01/21/20 Page 6 of 10




     fail to state a “plausible” claim for relief. A complaint may survive a motior
 2   to dismiss for failure to state a claim, however, even if it is “improbable” thai

     a plaintiff would be able to prove those facts; even if the possibility 01

 s   recovery is extremely “remote and unlikely.”         In ruling on a motion tc
 6   dismiss, the court must accept the facts pleaded in the complaint as tru€
 7
     and construe them in the light most favorable to the plaintiff. Generally~
 8
     notice pleading is all that is required for a valid complaint. Under notic€

10   pleading, the plaintiff need only give the defendant fair notice of thE
“    plaintiffs claim and the grounds upon which it rests. See Ashcroft v. Iqbal.
12
     556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009); Fed. R. Civ,
13

14   P. 12(b)(6); Bell Atlantic v. Twombly, 550 U.S. 544, 556, 127 S.Ct. 1955.
is   167 L.Ed.2d 929 (2007); Quality Foods de Centro America, S.A. v. Latir
16   American Agribusiness Dev. Corp., .S.A., 711 F.2d 989, 994-95 (11th
17
     Cir.1983); see also Sanjuan v. American Bd. of Psychiatry & Neurology,
18

~    Inc., 40 F.3d 247, 251 (7th Cir.1994) (noting that at the pleading stage, thE
20   plaintiff “receives the benefit of imagination”); Lombard’s, Inc. v. Princ€
21   Mfg., Inc., 753 F.2d 974, 975 (11th Cir.1985), cert. denied, 474 U.S. 1082:
22
     106 S.Ct. 851, 88 L.Ed.2d 892 (1986).
23

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14                                  CONCLUSION
15          Based on the foregoing, Plaintiff requests that this Honorable Cowl
~     deny Defendants’ Motion to Dismiss, and in the alternative, grant leave o~
17
      court to amend her Complaint, and award Plaintiff any other relief deemec
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19    just and proper.
20

21             __________________                  Respecifully submitted,
      Dated:                  ~5,2O2O.
22

23

24

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          Case 1:19-cv-04863-MHC Document 17 Filed 01/21/20 Page 8 of 10



 1                                              Tawana L. Carter
 2                                              Pro Se Plaintiff
                                                115 Parkside Close
 3                                              Alpharetta, GA 30022
                                                Phone: 1.678.908.9471
 4




 6                              FONT CERTIFICATION
 7
           In accordance with Local Rule 7.1(D), the undersigned hereby
 8
     certifies that the foregoing was prepared using Times New Roman, 14-

10   point font pursuant to
~    Local Rule 5.1(B).




15                                              Tawana L. Carter
                                                Pro Se Plaintiff
16

17                            CERTIFICATE OF SERVICE
18         I HEREBY CERTIFY that a true and correct copy of the foregoing
19
     Response in Opposition was sent to Counsel for Defendants, Bret J. Chaness al
20
     RUB]7N LUBLIN LLC, 3145 Avalon Ridge Place, Suite 100, Peachtree Corners.

22   GA 30071, via U.S. Mail, on this   )   b~of ~1~A/h~O20.
23                                                            U
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         Case 1:19-cv-04863-MHC Document 17 Filed 01/21/20 Page 9 of 10




 3                                       Tawana L. Carter
                                         Pro Se Plaintiff
                                         115 Parkside Close
 5                                       Alpharetta, GA 30022
                                         Phone: 1.678.908.9471
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